          Case 2:08-cr-00263-TLN Document 162 Filed 07/28/15 Page 1 of 3



              UNITED STATES DISTRICT COURT
                             Eastern District of California
     Petition to Modify the Conditions or Term of Supervision
                   with Consent of the Offender
                        (Probation Form 49, Waiver of Hearing, is on file)

                                                                                      0972 2:08CR00579-01
Name of Offender:      Kevin James Dixon                      Docket Number:
                                                                                      and 2:08CR00263-01

Name of Judicial Officer:     Garland E. Burrell, Jr., United States District Judge

Date of Original Sentence:    10/5/2009

Original Offense: 2:08CR00579: 18 USC 922(g)(1) – Possession of a Firearm Having Been Previously
Convicted of an Offense Punishable By a Term of Imprisonment Exceeding One Year (Class C Felony);
2:08CR00263: 18 USC 2314 – Interstate Transportation of Money Obtained by Fraud (Class C Felony).

Original Sentence: 2:08CR00579: 78 months custody Bureau of Prisons (concurrent with Docket
Number 2:08CR00263); 36 months Supervised Release (concurrent with Docket Number 2:08CR00263);
$100 special assessment; Mandatory drug testing; No firearms; DNA collection; 2:08CR00263:
78 months custody Bureau of Prisons (concurrent with Docket Number 2:08CR00579); 36 months
Supervised Release (concurrent with Docket Number 2:08CR00579); $100 special assessment; $124,510
restitution; Mandatory drug testing; No firearms; DNA collection.

Special Conditions:

    1. Warrantless Search
    2. Financial Disclosure
    3. Financial Restrictions
    4. Drug/Alcohol Treatment
    5. Drug/Alcohol Testing
    6. No Alcohol
    7. Mental Health Treatment
    8. Aftercare Co-payment
    9. Phone Record Disclosure
    10. Co-Defendant and Gang Association Restrictions

Type of Supervision:     Supervised Release

Date Supervision Commenced:        7/24/2013 (Middle District of Florida)




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                                                                                                      (08/13)
RE: KevinCase
          James2:08-cr-00263-TLN
                Dixon            Document 162Docket
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                                                                       2 of 3
                                             and 2:08CR00263


Other Court Actions:

09/22/2014:      Report of Offender Under Supervision submitted alleging a positive drug test for
                 marijuana. No formal action recommended.

12/17/2014:      Report of Offender Under Supervision submitted alleging a new law violation, battery.
                 He was admonished and directed to complete anger management.




                                   PETITIONING THE COURT

To modify the conditions of supervision as follows:

        11.     You shall perform 25 hours of community service and follow the probation
                officer’s instructions regarding the implementation of this court directive.

Justification: On July 24, 2013, the offender’s supervised release commenced in the Middle District of
Florida. He was referred to mental health and drug abuse treatment. Both were completed on May 31,
2014. The offender has paid $1,643.09 toward his restitution and has an outstanding balance of $122,966.
He continues to attend ITT Tech for a degree in counseling. However, on June 15, 2015, the offender
submitted a urine sample that returned positive for marijuana. On June 18, 2015, when confronted about
the positive drug test, he admitted he had used marijuana one week prior to testing, and again on June 15,
2015. The offender informed the probation officer that his use was triggered by stress and unresolved
issues with the Department of Children and Family Services. Based on this conduct, the probation officer
recommends a modification of the terms and conditions of supervision to include 25 hours of community
service. Attached is a copy of the signed Prob 49 - Waiver of Hearing form. The probation officer is also
requesting transfer of jurisdiction.

                                                      Respectfully submitted,




                                                      BRENDA BARRON-HARRELL
                                                      United States Probation Officer
                                                      Telephone: (916) 930-4397
DATED:        7/15/2015
                                                      Reviewed by,

                                                      /s/ Jeffrey C. Oestreicher

                                                      JEFFREY OESTREICHER
                                                      Supervising United States Probation Officer




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                                                                                                      (04/13)
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          James2:08-cr-00263-TLN
                Dixon            Document 162Docket
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                                             and 2:08CR00263




THE COURT ORDERS:

☒ Modification approved as recommended.

☐ Modification not approved at this time. Probation Officer to contact Court.

☐ Other

Dated: July 28, 2015




CC:

United States Probation

Assistant United States Attorney:

Defense Counsel:




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                                                                                  (04/13)
